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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 SUZANNE E. JONES,

                Plaintiff,

           v.
                                                         Civil Action No.: 4:21-cv-733-ALM
 H. NEIL MATKIN, in his personal and
 official capacity; TONI JENKINS, in her                     DECLARATION OF
                                                      SUZANNE E. JONES IN SUPPORT OF
 personal and official capacity; and COLLIN
                                                        PLAINTIFF’S OPPOSITION TO
 COLLEGE,                                                DEFENDANTS’ MOTION FOR
                                                           SUMMARY JUDGMENT
                 Defendants.                              ON QUALIFIED IMMUNITY



       Pursuant to 28 U.S.C. § 1746(2), I, Suzanne E. Jones, declare the following:

       1.       I am a citizen of the United States. I am over eighteen (18) years of age and fully

competent to make this declaration. I knowingly and voluntarily make this declaration in support

of Plaintiff’s Opposition to Defendants’ Motion for Summary Judgment Based on Qualified

Immunity. If called as a witness, I could and would testify competently under oath to the

following facts based on my personal knowledge.

       2.       I am a plaintiff in the above-captioned action challenging Collin College’s

violation of my First Amendment rights.

       3.       I have been a resident of Collin County, Texas for most of my life.

       4.       I began working at Collin College in 2001 as a part-time developmental reading

teacher.

       5.       I began working as a full time professor of what is now a professor of education

in 2012.




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       6.         From 2001 to August 2017, I was a dedicated faculty member with no formal

disciplinary actions or reprimands from the College. Further, I received above-average teaching

evaluations from students and above-average performance reviews by Collin College

administrators.

       7.         In 2015 and 2020, Collin College President Matkin selected me to choose a

student to receive the Engaged Faculty Scholarship, an honor at Collin College.

       8.         In August 2017, I signed my name on a published open letter in the Dallas

Morning News supporting the removal of confederate monuments in Dallas, Texas because I

opposed those monuments, listing “Collin College” under my signature, along over thirty faculty

members from Dallas-area institutions.

       9.         On or about August 24, 2017, James N. Barko, the Dean of Student and

Enrollment Services at the College, asked me to remove my affiliation “Collin College” from the

published open letter.

       10.        In the Fall of 2018, I was elected by full time faculty at my campus to Collin

College’s Faculty Council, which was a voluntary group composed of faculty who provided

nonbinding input into the governance of the College. On the Faculty Council, I was the Chair of

the Teaching and Learning Committee, and I had been chosen as a Collin College Virtual

Fellow, which meant I was specifically considered specialized in online teaching. Because of my

background as an expert in educational curriculum and instruction, I felt that my expertise

concerning proven teaching methods was particularly useful for Collin College faculty, who

faced novel conditions created by COVID-19. Specifically, I wanted to create resources for

professors unfamiliar with online teaching.




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       11.     I served on the Faculty Council from the Fall of 2018 until Collin College

terminated me in May 2021.

       12.     I did not have any personal issues working in-person in 2020, but I received

complaints from other faculty members at the Frisco campus concerning the prospect of

returning to teach in person, in the Fall of 2020.

       13.     I attempted to communicate my concerns about the College’s reopening plans to

the administration. As an example, on August 4, 2020, I emailed Senior Vice President of

Campus Operations at Collin College Toni Jenkins concerning working conditions for the

College’s faculty, specifically asking whether individuals who were entitled to an

accommodation due to COVID-19 had the option of attending an in-person, pre-semester

meeting virtually. A true and correct copy of my August 4, 2020 email to Jenkins is attached

to this declaration as Exhibit A.

       14.     Senior Vice President Jenkins never responded to my August 4, 2020 email

concerning virtual options for employees who required accommodations.

       15.     I, along with other faculty members, decided to organize a chapter of the Texas

Faculty Association (“TFA” or “the union”) at the College.

       16.     TFA is a non-collective bargaining union of faculty members and the local

affiliate of the Texas State Teachers Association and the National Education Association, which

work to protect the rights of higher education faculty.

       17.     I, and others, felt the union was necessary in order to ensure the faculty had a

collective voice to raise concerns with the College’s policies and practices.

       18.     I agreed to serve as the secretary and treasurer of the TFA chapter at the College.




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       19.     On September 22, 2020, I responded to an email from Faculty Council president

Kat Balch to ask if I could announce the chapter of the union during the Faculty Council

meeting.

       20.     Before my September 22, 2020 email, I had not informed any Collin College

administrator that I helped organize a chapter of the union at the College.

       21.     Under Jenkins’s direction, Faculty Council president Kat Balch did not permit me

to announce the formation of the union during a Faculty Council meeting.

       22.     The TFA operates a website, texasfacultyassociation.org, which used to list the

various TFA chapters at institutions across Texas. Without my knowledge, the TFA staff listed

the Collin College-Plano chapter on its website, providing my personal email address as the

contact information. An archived copy of that page can be found at

https://web.archive.org/web/20200925015328/https://www.texasfacultyassociation.org/chapters.

       23.     On September 28, 2020, Garry W. Evans, Collin College’s Dean of Academic

Affairs and Workforce, spoke to me by telephone and requested that I remove any mention of

Collin College and my contact information from the TFA website.

       24.     During the call, Dean Evans told me that “I have dreaded calling you all day, but

we need you to get the college’s name off the TFA website because we cannot be associated with

a union.”

       25.     I forwarded Dean Evans’s request to TFA; TFA removed those details within

forty-eight (48) hours.

       26.     During this time period, Dean Evans contacted me four (4) separate times to make

sure I was disassociating myself from the TFA.




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       27.      Shortly after my request, TFA removed my contact information from their

website. I informed Dean Evans of this, and told him via email on September 30, 2020, that I had

learned that the TFA had listed, for each chapter, “a board member’s personal email” address,

and that I “didn’t even know I was listed there as I have nothing to do with the website.”

       28.      On or about December 15, 2020, some members of the TFA Chapter at Collin

College submitted a proposal for a panel at Collin College’s Faculty Development Conference in

January 2021.

       29.      The panel, entitled “Finding Your Voice,” was expected to discuss academic

freedom, free speech, and engagement with colleagues.

       30.      This panel was initially approved and designated a date and time slot.

       31.      Jenkins, acting in her capacity as the Vice President of Collin College, pulled the

panel presentation from the program after everyone had been informed it was approved.

       32.      On January 28, 2021, TFA had its first virtual recruitment meeting for Collin

College, which had been previously publicized on social media.

       33.      Also on January 28, 2021, Mary Barnes-Tilley, a provost for Collin College, and

Floyd Nickerson, Chief Human Resources Officer at Collin College, informed me that the

College would not be renewing my teaching contract.

       34.      During this meeting, Barnes-Tilley provided me with two reasons for her non-

renewal: (1) I had challenged Collin College’s reopening plans; and (2) on two occasions, the

2017 Incident and 2020 Incident, Collin College asked me to remove references to Collin

College in publicly accessible websites.




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       35.     During this meeting, Barnes-Tilley told me that my Associate Dean, Dean, and

Provost had signed off on my contract extension, but Matkin and Jenkins overruled the

recommendation and decided to terminate me.

       36.     On February 10, 2021, I, through my attorney Nicholas Enoch, filed a nine-page

grievance with thirty (30) exhibits consisting of over one hundred (100) pages alleging that

Collin College, Matkin, and Jenkins violated my First Amendment rights by terminating me for

associating with the TFA and publicly advocating for changes to the College’s reopening plan.

       37.     I am certain that my association with TFA was a motivating factor in Jenkins’

decision to terminate me, but my attorneys have not been able to depose Jenkins or review

communications made contemporaneous with my termination to prove my allegation because

Defendants filed their motion for summary judgment before the Court issued a scheduling order.

       38.     I am certain that Jenkins’s articulated basis for my termination in her March 4,

2021 Response to Complaint is untrue.

       39.     I am certain that my association with TFA was a motivating factor in Matkin’s

decision to terminate me, but I have not been able to depose Matkin or review communications

made contemporaneous with my termination to prove my allegation because Defendants filed

their motion for summary judgment before the Court issued a scheduling order.

       40.     I understand that Jenkins and Matkin dispute that they made the decision to

terminate me based upon my association with the TFA.

       41.     I do not believe that Jenkins considered the criteria in Board Policy DH (Exhibit)

when she made the decision to terminate me.

       42.     I believe that Matkin and Jenkins communicated about my termination in writing,

specifically through emails and text messages.




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       43.     Reviewing the written comm unications of Matkin and Jenkins about my

termination will corroborate my allegati on that my association with TFA was a motivating factor

in their decision to terminate me.

       44.     I also belie ve that the depo sitio ns of Matkin and Jenkins will prove that my

association with TFA was a motivatin g factor in their decision to terminate me.

       45.     Without the benefit of written discovery requests and depositions of Matkin and

Jenkins concerning the basis for my termin atio n, I will not be able to collect the evidence

necessary to prove my allegation that my association with TFA was a motivating factor in their

decision to terminate me .

        46.    Without the benefit of written discove ry requests concerning the basis for my

termination and depositions of Matkin and Jrnk ins, I wi ll not be able to collect the evidence

necessary to prove my allegation that Jen kins did not consider the criteria in Board Policy DH

(Exhibit) when she made the decision to terminate me.

I declare under penalty of perjur y that the foregoing is true and correct.


Executed on March 16, 2022




                                                                8~
                                                               Suzan ne.Jones




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           Exhibit A
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From: Suzanne E. Jones REDACTED
Sent: Tuesday, August 4, 2020 12:11 PM
To: Toni Jenkins REDACTED
Subject: question

Dr. Jenkins,

Good morning. After our faculty council meeting last week, I was under the
impression that all pre-semester meetings would be virtual. The minutes that
went out to all faculty after the meeting stated that "Dr. Matkin and Dr. Jenkins
assured us that pre-semester meetings would be virtual." Now, we are all
receiving information that our Division meetings will be face to face and there will
be food at some of them which of course means that masks will be off. Since I
assume there is a virtual option for those with accommodations, I was wondering
if others would be allowed to take that option for this meeting as well?

Thank you,


Suzanne Jones, Ed.D.
Professor of Education
Service Learning Faculty Coordinator - Frisco Campus
REDACTED

REDACTED
